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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Jeff C. Rosch
                                         Plaintiff,
v.                                                       Case No.: 1:17−cv−06787
                                                         Honorable Robert M. Dow Jr.
Bates Water Solutions, Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 13, 2018:


        MINUTE entry before the Honorable Robert M. Dow, Jr: Status hearing held.
Parties have reached a settlement in principle. Oral motion to dismiss this action without
prejudice is granted. If no motion to reinstate is filed on or before 3/14/2018, the dismissal
without prejudice will convert to a dismissal with prejudice with no further action required
of the Court or the Parties. Civil case terminated. Mailed notice(cdh, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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